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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    IN RE:
    Ruth Lynn Mahon                                     Chapter 7
                                         Debtor
                                                        Case No. 18-11439 MDC
    WELLS FARGO BANK, N.A.
                                         Movant
           v.
    Ruth Lynn Mahon
    and
    Gary F. Seitz, Trustee
                                         Respondents

                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

           WELLS FARGO BANK, N.A. (“Movant”) hereby moves this court, pursuant to 11 U.S.C. §
   362, for relief from the automatic stay with respect to certain real property of the Debtor having an
   address of 1214 Harding Drive, Havertown, PA 19083 (the “Property), for all purposes allowed by
   the Note (defined below), the Mortgage (defined below), and applicable law, including but not
   limited to the right to foreclose. In further support of this Motion, Movant respectfully states:
       1.      A petition under Chapter 7 of the United States Bankruptcy Code was filed with respect to
               the Debtor on 3/2/2018.
       2.      The Debtor has executed and delivered or is otherwise obligated with respect to that certain
               promissory note in the original principal amount of $122,210.00 (the “Note”). A copy of
               the Note is attached hereto as EXHIBIT A. Movant is an entity entitled to enforce the
               Note.
       3.      Pursuant to that certain Mortgage dated 5/5/2005, and recorded in the office of the county
               clerk of Delaware county, Pennsylvania (the “Mortgage”), all obligations (collectively, the
               “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are
               secured by the Property. A copy of the Mortgage is attached hereto as EXHIBIT B.
       4.      A copy of the Merger Information to Movant is attached hereto as EXHIBIT C.
       5.      As of 4/10/2018, the outstanding amount of the Obligations less any partial payments or
               suspense balance is $97,958.11.
       6.      In addition to the other amounts due to Movant reflected in this Motion, as of the date
               hereof, in Connection with seeking the relief requested in this Motion, Movant has also
               incurred legal fees and costs. Movant reserves all rights to seek an award or allowance of
               such fees and expenses in accordance with applicable loan documents and related
               agreements, the Bankruptcy Code and otherwise applicable law.
       7.      As of 4/10/2018, debtor is currently delinquent for the 10/25/2017 through 3/25/2018
               contractual payments totaling $4,598.56.
       8.      The estimated market value of the property is $92,000.00. The basis for such valuation is
               Debtor’s Schedule A/B, which is attached hereto as EXHIBIT D.
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      9.        Upon information and belief, the encumbrances on the property listed in the schedules or
                otherwise known, including but not limited to the encumbrances granted to Movant, listed
                in order of priority are: (I) Movant ($97,958.11); (II) Wells Fargo Home Equity
                ($27,760.29); (III) Upper Darby Township ($1,987.95); (IV) Upper Darby School District
                ($3,149.98); and (V) Treasurer of Delaware County ($546.51). There is no or
                inconsequential equity in the property.
      10.       The amount of the next monthly payment of the Debtor under the terms of the Note and
                Mortgage is $809.82 and will come due on 4/25/2018.
      11.       Cause exists for relief from the automatic stay for the following reasons:
                a. Movant’s interest in the property is not adequately protected.
                b. The fair market value of the property is declining and payments are not being made to
                    Movant sufficient to protect Movant’s interest against that decline.
                c. Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has no equity in the Property; and
                    pursuant to §362(d)(2)(B), the Property is not necessary for an effective reorganization.
      WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay and
      granting the following:
      1.    Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable law, including
            but not limited to allowing Movant (and any successors or assigns) to proceed under applicable non-
            bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the property.
      2.    That the Order be binding and effective despite any conversion of this bankruptcy case to a case under
            any other chapter of Title 11 of the United States Code.
      3.    That the 14 Day Stay described by Bankruptcy Rule 4001(a)(3) be waived.
      4.    For such other relief as the Court deems proper.


   April 26, 2018                                                /s/ Jill Manuel-Coughlin, Esquire
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